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                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA

                                                CRIMINAL MINUTES - GENERAL




 Case No.           CR 14-00338 (A) SJO-15                                                             Date      June 27, 2015


 Present: The Honorable            S. James Otero, United States District Judge

 Interpreter        Not Required

                Victor Paul Cruz                               Carol Zurborg                                  Mack Jenkins
                 Deputy Clerk                        Court Reporter/Recorder, Tape No.                   Assistant U.S. Attorney



                  U.S.A. v. Defendant(s):                  Present Cust. Bond            Attorneys for Defendants:       Present App. Ret.

(15) Jermaine Houston                                         xx      xx           Georgina Wakefield, DFPD                  xx    xx



                      GUILTY PLEA RE COUNT ONE AND A LESSER-INCLUDED OFFENSE IN COUNT TWELVE OF THE
 Proceedings:         FIRST SUPERSEDING INDICTMENT


Matter called.

Defendant is placed under oath.

Court advises the defendant that he has been placed under oath, and that if he answers his questions
falsely that he could be later prosecuted for perjury, or for making a false statement. Court also
advises the defendant that he has the right to remain silent but that by entering a guilty plea he will
be incriminating himself. Defendant indicates that he has discussed the right against self-
incrimination with his counsel, and that he freely and voluntarily waives theses rights. Counsel
concurs in the waiver.

Defendant states his true name as Jermaine Houston .

Defendant indicates that he has never been treated for addiction to narcotics or for any mental
illness. Defendant indicates that he has not consumed any medication or alcohol within the last 72
hours. Defendant does not suffer from any mental or physical condition that could affect his plea.
Counsel concurs that defendant is competent and in full possession of his faculties to enter a guilty
plea at this time. The Court finds that the defendant is in full possession of his faculties.


The Court advises the defendant of certain constitutional rights: the right to a speedy and public
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trial; the right to be tried by a jury, alternatively, the right to waive a jury trial and be tried by the
court. In either case the right to persist in a not guilty plea and have the right to have the
government prove his guilty beyond a reasonable doubt; the right to be represented by an attorney
throughout the proceedings. And, if he cannot afford an attorney, that one will be appointed free of
charge; the right to confront and cross-examine all witnesses called to testify against him; the right
to present witnesses and evidence on his behalf, and to have witnesses subpoenaed to testify; right
against self incrimination (right to remain silent). However, by entering a plea of guilty that he will
be waiving this right because he would be in fact incriminating himself; the right to testify on his
own behalf, but not be compelled to testify or to incriminate himself. Defendant acknowledges that
he has discussed these rights with his counsel and that he freely, voluntarily and expressly waives
these rights. Counsel joins in the waivers.

Government counsel places elements of charges on the record and advises the defendant of the
mandatory minimum and the statutory maximum sentence. The defendant is also advised that if he
is given a term of imprisonment that afterwards he will be subject to supervised release and that if
he violates the terms and conditions of supervised release that he can be given additional time in
prison. Defendant acknowledges he understands the elements of the offense, the penalties that could
be imposed, and the provisions of supervised release, and that he has discussed these issues with his
counsel.

The Court advises the defendant of collateral consequences of his immigration status by entering a
plea of guilty. Defendant acknowledges that he understands the consequences.

The Court advises the defendant that the Court will consider the sentencing guidelines and that the
guidelines are not mandatory but advisory only. Defendant acknowledges that he has reviewed the
guidelines with his counsel. The Court retains discretion in sentencing.

Defendant acknowledges that he signed the plea agreement. Defendant acknowledges that he
understands the plea agreement. Defendant acknowledges that he has reviewed the plea agreement
with his counsel. Defendant acknowledges that he understands the terms and conditions of the plea
agreement. The Court reviews certain portions of the plea agreement. The defendant acknowledges
the factual basis in the plea agreement is true and correct. The Court reviews sentencing factors.
The Court reviews the limited mutual waiver of appeal and collateral attack. The Court advises the
defendant that the plea agreement is not binding on the Court.

Court advises the defendant of the loss of certain civil rights with the entry of a guilty plea.

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Defendant indicates that no promises have been made in exchange for a plea of guilty or that no one
has made any threat, or used force against him or his family to enter guilty plea. Defendant enters
plea freely and voluntarily.

Government counsel places evidence of facts and the offer of proof of this case on the record.
Defendant acknowledges facts to be true and correct.

Defendant’s counsel indicates that he has reviewed all the discovery that has been provided by the
government, and that he has reviewed the facts of the case and the discovery with the defendant.
Additionally, that he has explored any possible defense with his client and that he believes there is a
factual basis for the plea, and that it is in his client’s best interests to enter a guilty plea.

Government counsel acknowledges that it is satisfied that the Court has complied with all the
federal requirements of Federal Rule of Criminal Procedure.

Defendant enters a plea of guilty to Count One and a lesser-included offense in Count Twelve of the
First Superseding Indictment which charge defendant with conspiring to engage in racketeering
activity in violation of 18 U.S.C. § 1962(d) and conspiring to traffic narcotics in violation of 21
U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B)(iii), respectively. The Court incorporates plea
agreement with the entry of defendant's guilty plea.

The Court questioned the defendant regarding the plea of Guilty and finds a factual and legal basis
for the plea. The Court finds that the defendant has entered his plea freely and voluntarily with a full
understanding of the charges against him and the consequences of his plea. The Court finds that
defendant understands his constitutional and statutory rights and wishes to waive them.

The Court refers the defendant to the Probation Office for investigation and report and continues the
matter to Monday, October 3, 2016 @ 9:00 a.m. for sentencing.

Position papers shall be filed by September 19, 2016.

The Court vacates the trial date as to this defendant.
                                                                                          :   0/30

                                                         Initials of Deputy Clerk   vpc
CC: Probation Office



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